Case 1:09-cv-08083-GBD-THK pocument Le lee eerie) Page 1 of 1

 
 
 
 
  

 

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* September 8, 2011

Via Federal Express

Hon. George B. Daniels
U.S. District Judge

500 Pearl Street, Room 630
New York, NY 10007-1312

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Lia iy ble &. MD. J.

    

Prated: S F-p.a OOTY
Leviton v. Greenberg Traurig LLP, et al, 7
09-cv-8083(GBD)(THK) :
Dear Judge Daniels:

On behalf of plaintiff Leviton Manufacturing Co., Inc., and with consent of
counsel for Defendants to this jointly-drafted letter, 1 am glad to be able to inform the
Court that the parties have reached an agreement to settle this action.

Accordingly, the parties jointly request that the Court stay the action while
the settlement is finalized. Shortly after September 22, 2011, the parties anticipate that
they will be in a position to file a stipulation of dismissal of the action.

Counsel for Defendants and [ are at the Court's disposal if we can provide
any further information.
Very truly yours

 

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Jeffrey A: Jannuzzo

ce: Milton Springut, Esq.
David R. Francescani, Esq.
Kevin M. Downey, Esq.
Aaron P. Maurer, Esq.
(via email in PDF)

Judge-201 1-9-8-stay req.wpd
